Case 2:04-cv-02389-.]PI\/|-tmp Document 14 Filed 04/27/05 Page 1 of 3 Page|D 26

IN THE UNITED sTATEs DISTRICT CoURT
WESTERN DIsTRICr oF TENNESSEE - WEerRN DIvIlei§q at ¢-,
ARTURo AGUIRRE CRUZ, lndividually du H.,f“ ` §
and as Next cf Kin to MAXIMINo \rr;i?Et-'~i§},, §§ §§L,v.ptt;s
AGUIRRE, Deceased; MARiA LUZ ‘”"3‘ `
VENEGAS ESTRADA, lndividually, as
N@>a Or Kin to MAXIMINo AGUIRRE,
Deceased and on behalf of MARITZA
AGUIRRE VENEGAS, a minor; and
AURELIANO vALDEs BLAs,

Individually,
PLAINTIFFS,
ml
v. CASE NO. 04-2389 M,dP
FORD MOTOR COMPANY,
DEFENDANT

AMENDED SCHEDULING ORDER

The Plaintiffs and the Defendant filed a Joint Application for Extension of Deadlines.
'l`he application is GRANTED and the Court enters this Amended Scheduling Order.

l. Expert Witness Disclosure of Plaintiffs’ Rule 26 expert information shall be provided by
August 5, 2005.

2. Expert Witness Disclosure of Defendant’s Rule 26 expert information shall be provided
by September 30, 2005 .

3. All discovery, including document production, fact and expert depositions,
interrogatories and request for admissions shall be completed by October l7, 2005 .

4. All dispositive motions shall be filed by Novernber 16, 2005.

5. Jury trial is set for /\/lonola;,/ /'_eiowq/}, /3/ 206 6', at ‘?"_`€O ct .m

 

 

6. A pretrial conference is set for Frw:la\,/ F¢[,NW;, `_§/ 200 g/ a-;L g _' ¢-/Fq_ m_
7. The joint pretrial order, proposed jury i_nstructions, and voir dire questions are due by no
later than~§‘.€€) p.m. on Fr; aide j 'qu/QFY 2 7 1006
‘~l zso ’ ’

Amended Scheduling Order f Pagc l

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/ f nw
with Rule 55 and/or 79(5) FP\GP en g ,

/@

Case 2:04-cv-02389-.]PI\/|-tmp Document 14 Filed 04/27/05 Page 2 of 3 Page|D 27

SO ORDERED

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AG AND ENTRY REQUESTED:

 

li:li'ristopher Cowan

AT ORNEY FOR PLAINTIFFS, ARTURO AGUIRRE CRUZ, Individually

and as Next of Kin to MAXIMINO AGUIRRE, Deceased; MARlA LUZ
VENEGAS ESTRADA, Individually, as Next of Kin to MAXIMINO AGUIRRE,
Deceased and on behalf of MARITZA AGUIRRE VENEGAS, a minor;
AURELIANO vALDE's BLAs, Individually

and

Steve Marcum
(Signed With permission by R. Christopher Cowan)

ATTORNEY FOR FORD MOTOR COMPANY

Amended Schcduling Order f Pagc 2

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R. Christopher CoWan

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Honorable .l on l\/lcCalla
US DISTRICT COURT

